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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            TERRE HAUTE DIVISION


ANTHONY CLAY,                                )
                                             )
                         Plaintiff,          )
                                             )
            v.                               )     2:05-cv-27-WGH-RLY
                                             )
SCHWAN’S HOME SERVICE, INC.,                 )
                                             )
                         Defendant.          )


               ORDER GRANTING PLAINTIFF’S MOTION TO
              ALTER/RECONSIDER ENTRY ON DEFENDANT’S
                  MOTION FOR SUMMARY JUDGMENT

      This matter is before the Magistrate Judge on Plaintiff’s Motion to

Alter/Reconsider Entry on Defendant’s Motion for Summary Judgment filed

September 1, 2006. (Docket Nos. 64, 65). Defendant’s Response was filed on

September 18, 2006. (Docket No. 68). Plaintiff’s Reply in Support was filed on

September 22, 2006. (Docket No. 69).

      The purpose of a motion to reconsider under Federal Rule of Civil Procedure

59(e) is to direct a court’s attention to newly discovered evidence or a manifest

error of law or fact. Oto v. Metropolitan Life Ins. Co., 224 F.3d 601, 606 (7th Cir.

2000). In this case, the plaintiff does not point the Magistrate Judge to any newly

discovered evidence. The plaintiff does ask the court to reexamine certain facts

that were not explicitly mentioned by the court in its opinion, but all the plaintiff’s

arguments go to a reweighing of the overall factual basis that was before the court

at the time the decision was rendered. The Magistrate Judge, however, believes
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that while other fact finders could have given different weight to the various

factual aspects pointed out in the plaintiff’s brief, there was no manifest error of

fact and no patent misunderstanding of the plaintiff’s position. Therefore, the

decision to reconsider this case must be limited to whether there was a manifest

error of law.

      In the order in this case, the Magistrate Judge has admitted to some

uncertainty as to the application of the newly developing test in discrimination

claims that is referred to as the “convincing mosaic of circumstantial evidence.”

Upon reading the case of Sylvester v. SOS Children’s Villages Illinois, Inc., 453 F.3d

900 (7th Cir. 2006), and reviewing other cases in this district such as District

Judge David F. Hamilton’s recent decisions in Elias Lopez v. Indiana-Kentucky

Electric Corporation, Cause No. 4:04-cv-169-DFH-WGH, and Will C. Malone v.

Indiana-Kentucky Electric Corporation, Cause No. 4:04-cv-191-DFH-WGH (see

www.insd.uscourts.gov, Recent Court Opinions), the Magistrate Judge believes

that his analysis in this case concerning the effect of other pieces of the

evidentiary mosaic may have been too narrow. If, as Judge Posner discusses in

Sylvester, the court must consider a large number of pieces of circumstantial

evidence as direct evidence of discriminatory conduct, then it becomes very

difficult to employ the summary judgment vehicle to resolve a discrimination

claim. Summary judgment is not applicable to a case where there are significant

disputed inferences to be drawn from facts and significant disputed facts. So long

as the court must consider a mosaic of circumstantial evidence, it becomes very



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difficult to find that there are no facts in dispute. Likewise, it is difficult to

determine that no inferences that are adverse to the defendant can be drawn.

         In light of the difficulties found in addressing the merits of a discrimination

claim where there are many disputed issues of fact and many circumstances that

can be considered, the Magistrate Judge concludes that the ends of justice would

better be served by a full and complete exposition of the facts at a trial rather than

through this summary vehicle. For this reason, the Magistrate Judge will

reconsider his prior decision.

         In addition, the parties dispute whether the case of Hart v. Transit

Management of Racine, Inc., 426 F.3d 863, 866 (7th Cir. 2005), conclusively stands

for the proposition that the plaintiff’s claim under 42 U.S.C. § 1981 for retaliation

is not recognized under that statute. The Magistrate Judge believes that Hart

currently stands for the proposition that no retaliation claim exists under § 1981.

However, since further developments on that issue may occur between now and

the time of the trial, the Magistrate Judge concludes that the appropriate time to

resolve that matter finally in this case will be at the jury instructions conference

level.

         Therefore, the Magistrate Judge’s prior order granting summary judgment is

RECONSIDERED. Defendant’s Motion for Summary Judgment is DENIED at this

time. The Clerk of Court is DIRECTED to reopen this case on its docket.

         A TELEPHONIC STATUS CONFERENCE to set a trial date in this matter is

hereby set for WEDNESDAY, NOVEMBER 29, 2006, at 4:00 p.m., Terre Haute

time (EST). Each counsel wishing to participate in this conference shall

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individually place a call to the court’s bridge line at (812) 434-6403 at the time of

the conference.1

      SO ORDERED.


Dated: 11/07/2006
                                                  _______________________________
                                                   WILLIAM G. HUSSMANN, JR.
                                                        Magistrate Judge


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        1
          The first person to call the number will hear a tone and then dead air. As each
 additional person calls the number, they will hear a tone and then will be able to talk
 to all other persons who have previously connected to the conference call.

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